Case 1:19-cv-07662-ALC Document 21 Filed 10/1543%8c Rage 1 of 1

DOCUMENT
ELECTRONICALLY FILED
DOCH#:

DATE FILED: _|0 51a

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
GRAFTON H. HULL, JR.,

Plaintiff on behalf of himself :
and all others similarly

situated : STIPULATION AND RaePea |] ORDER
: EXTENDING TIME TO RESPOND
- against - > WhOA-c(y-07 0027 (A LC)

CENGAGE LEARNING HOLDINGS I, INC.,
CENGAGE LEARNING, INC.,

Defendants.

IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned
parties, that Plaintiff's time to respond to Defendant’s October 10, 2019 letter requesting a pre-

motion conference shall be extended through Friday, October 18, 2019.

New York, NY
Dated: October 14, 2019

SLARSKEY LLC SATTERLEE STEPHENS LLP

By: YY By: /s/ James Rittinger
David y — | James F, Rittinger

 

 

800 Third Avenue, 18th Floor 230 Park Avenue 11th Floor
New York, NY 10022 New York, NY 10169

(212) 658-0661 (973) 218-2509
Counsel for Plaintiffs Counsel for Defendants
SO ERE

D.
Andie 7 Cae
)—~
Carter, A. U.S.D.J.
[O[I5 |!

 

 
